       CASE 0:13-cr-00164-PJS-LIB            Doc. 165      Filed 01/22/14      Page 1 of 5




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                                Case No. 13-CR-0164 (PJS/LIB)

                        Plaintiff,

 v.                                                                    ORDER


 PATRICIA ANN MCQUARRY (2),

                        Defendant.


       Kimberly A. Svendsen and Timothy C. Rank, UNITED STATES ATTORNEY’S
       OFFICE, for plaintiff.

       Patricia Ann McQuarry, defendant pro se.

       On June 18, 2013, defendant Patricia McQuarry was indicted for conspiracy to defraud

the United States in violation of 18 U.S.C. § 286 and with making false, fictitious, or fraudulent

claims upon or against the United States in violation of 18 U.S.C. § 287. McQuarry was arrested

the next day and later released on a $25,000 unsecured bond with conditions. Since then,

McQuarry has elected to represent herself in this proceeding and has filed a number of

increasingly strange documents with this Court. McQuarry’s most recent filings include a

document declaring that she is rescinding her signatures on various other documents, including

her appearance bond, the order setting the conditions of her release, and her pretrial release

contract. ECF No. 144. McQuarry — who, as noted, is representing herself — also filed a

document in which she “declare[d]” that “i object to being wrongfully construed as pro se,” that

“i am a woman, created by God and to represent myself would be breaking God’s second

commandment . . .,” and that “i believe representing myself is to put on a false mask, a graven
        CASE 0:13-cr-00164-PJS-LIB             Doc. 165      Filed 01/22/14       Page 2 of 5




image, a false god[.]” ECF No. 141 (sic). The Court scheduled a hearing yesterday with

McQuarry to question her about her most recent filings.

       At the conclusion of that hearing, the government orally moved to revoke McQuarry’s

release, and the Court granted the motion. The Court now enters this order to explain the basis

for its ruling. The Court will enter a separate order requiring that McQuarry undergo a

competency evaluation and hearing under 18 U.S.C. § 4241 and Fed. R. Crim. P. 12.2(c)(1)(A).

       Under 18 U.S.C. § 3148, a court may revoke a defendant’s pretrial release if, after a

hearing, the court finds (1) that there is clear and convincing evidence that the defendant has

violated a condition of supervised release and (2) that the person is unlikely to abide by any

condition or combination of conditions of release. The Court finds that both of these

prerequisites are met in this case.

       First, McQuarry filed a document rescinding the signature on her bond, and at yesterday’s

hearing she confirmed her intent to rescind her signature. McQuarry has therefore violated the

order setting conditions of release, which, among other things, required her to sign an appearance

bond. ECF Nos. 6, 8.

       Second, McQuarry’s recent filings, and her statements in court, have persuaded the Court

that McQuarry is unlikely to abide by any condition or combination of conditions of release. In

addition to rescinding her signature on the bond and other pretrial-release documents — which in

and of itself causes the Court grave concern about McQuarry’s intentions — McQuarry has also

recently sent several letters to the prosecutor in this case.1 These letters largely consist of the


       1
       At the hearing, the government provided copies of these letters, dated December 15,
2013, December 23, 2013, and January 4, 2014. The Court has previously warned defendants
                                                                                  (continued...)

                                                  -2-
        CASE 0:13-cr-00164-PJS-LIB             Doc. 165      Filed 01/22/14       Page 3 of 5




kind of nonsensical legalese favored by tax protesters, but the letters go further, into more

disturbing territory. Among other things, the letters (1) purport to define certain information as

private, confidential, and proprietary, with the prosecutor being subject to a $1 million penalty if

she violates this unilaterally imposed edict; (2) purport to impose some kind of trusteeship on the

prosecutor and the acting United States Attorney; (3) purport to require the prosecutor and the

acting United States Attorney to “perform and complete the specific trust duties”; (4) state that

“any interference with my right to self govern by oath takers trying to order me about or threaten

me and interrupt with the proper function to self govern is terrorism”; (5) purport to order the

prosecutor to immediately withdraw this criminal case “from the public forum,” drop all criminal

charges, and destroy all criminal records in this case; and (6) purport to require the prosecutor

and the acting United States Attorney to appear in some kind of “Special Proceeding” to be held

in a “court of exclusive original jurisdiction in equity . . . .” In addition to being threatening,

these assertions strongly indicate that McQuarry believes that she is not subject to the jurisdiction

of this Court and that she has both the right and the ability to impose legal obligations on the

prosecutor and to terminate this criminal prosecution at any time.

        The Court is further concerned because, at yesterday’s hearing, it became clear that

McQuarry gives her own highly idiosyncratic meaning to ordinary English words. For example,

McQuarry said that she could not “represent” herself in this proceeding because it would require

her to “re-present” herself as a human being (whatever that means), which, in turn, would



        1
         (...continued)
that any documents that they send to the Court will be made part of the official court record and
will be available to the public. ECF No. 22. Because McQuarry did not send these letters
directly to the Court, though, the Court has ordered that they be filed under seal.

                                                  -3-
       CASE 0:13-cr-00164-PJS-LIB            Doc. 165      Filed 01/22/14      Page 4 of 5




somehow offend God. McQuarry’s use of the English language is so idiosyncratic that it is

difficult for the Court to carry on a conversation with her, because the Court is never certain what

she is saying. The confusion created by McQuarry’s idiosyncratic use of language is

compounded by her exceedingly strange view of the law and of the nature of this case as

reflected in her letters and other filings. For example, McQuarry’s filings suggest that McQuarry

regards the capitalized version of her name as some kind of legal entity separate from herself. As

a result, the Court cannot even be sure who or what McQuarry is referring to when she promises

to do something or makes some kind of factual assertion.

       In short, McQuarry’s filings, letters, and statements in court have persuaded the Court

that she “is unlikely to abide by any condition or combination of conditions of release.” 18

U.S.C. § 3148(b)(2)(B). The Court therefore revokes her pretrial release and orders that she be

detained pending trial. As noted, the Court will, by separate order, require that McQuarry be

examined by a psychiatrist or psychologist to determine whether she is competent to stand trial.

                                             ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      The Court REVOKES the pretrial release of defendant Patricia Ann McQuarry

               under 18 U.S.C. § 3148.

       2.      McQuarry is committed to the custody of the Attorney General for confinement in

               a correctional facility separate, to the extent practicable, from persons awaiting or

               serving sentences or being held in custody pending appeal.




                                                -4-
     CASE 0:13-cr-00164-PJS-LIB          Doc. 165     Filed 01/22/14      Page 5 of 5




     3.     McQuarry must be afforded reasonable opportunity to consult privately with her

            counsel.

     4.     On order of the Court or request by the United States Attorney, the person in

            charge of the correctional facility in which McQuarry is confined must deliver her

            to the United States Marshal for the purpose of appearance in connection with a

            court proceeding.

     5.     McQuarry’s motion to appoint counsel [ECF No. 155] is GRANTED. The Court

            re-appoints Daniel Gerdts to represent McQuarry pursuant to the Criminal Justice

            Act. See ECF No. 18.

Dated: January 22, 2014                        s/Patrick J. Schiltz
                                               Patrick J. Schiltz
                                               United States District Judge




                                            -5-
